     Case 2:06-cr-20118-JWL      Document 160       Filed 01/22/09     Page 1 of 8




                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS


United States of America,

                      Plaintiff/Respondent,

v.                                                        Case No. 06-20118-02-JWL
                                                                   08-2121-JWL
Deborah J. Gutierrez,

                      Defendant/Petitioner.



                                MEMORANDUM & ORDER

        In December 2006, Deborah J. Gutierrez pleaded guilty to one count of conspiracy to

distribute and to possess with intent to distribute cocaine. In the plea agreement executed by Ms.

Gutierrez, she waived her right to appeal or collaterally attack any matter in connection with her

prosecution, conviction and sentence, including her right to file a motion pursuant to 28 U.S.C.

§ 2255, except as limited by United States v. Cockerham, 237 F.3d 1179 (10th Cir. 2001). In

March 2007, Ms. Gutierrez was sentenced to a 87-month term of imprisonment.

        In March 2008, Ms. Gutierrez filed a motion to vacate, set aside or correct her sentence

pursuant to 28 U.S.C. § 2255 (doc. 126). In her motion to vacate, Ms. Gutierrez asserts that she

received ineffective assistance of counsel in connection with the negotiation of the plea

agreement because her counsel, in encouraging Ms. Gutierrez to plead guilty, assured her that

she would receive a sentence within the range of 36 to 42 months but then permitted information

that she shared with him (concerning drug quantities related to the conspiracy) to be used against
   Case 2:06-cr-20118-JWL        Document 160       Filed 01/22/09    Page 2 of 8




her at sentencing, resulting in a sentence of 87 months. She further contends that she received

ineffective assistance of counsel in connection with her sentencing hearing because her counsel

failed to object when information she provided to law enforcement upon arrest (i.e., the same

information she provided to her counsel concerning drug quantities related to the conspiracy)

was used against her in calculating an advisory sentencing guidelines range. She also claims that

her conviction was obtained by a violation of the privilege against self-incrimination

(referencing again the information she provided to law enforcement upon arrest concerning drug

quantities related to the conspiracy). In response, the government contends that Ms. Gutierrez’s

ineffective assistance claim concerning her plea does not satisfy the two-prong test enunciated

by the Supreme Court in Strickland v. Washington, 466 U.S. 668 (1984), and that the claims

concerning her conviction and sentencing have been expressly waived by Ms. Gutierrez in her

plea agreement–a waiver that the government moves to enforce (doc. 129).

       As explained below, the court concludes that Ms. Gutierrez’s ineffective assistance claim

concerning her plea does not satisfy Strickland v. Washington, that enforcement of the waiver

does not otherwise result in a miscarriage of justice and that she has waived her claims

concerning her conviction and sentencing. Thus, Ms. Gutierrez’s petition is denied in part and

dismissed in part and the government’s motion to enforce is granted.

       The court will hold a defendant and the government to the terms of a lawful plea

agreement. United States v. Arevalo-Jimenez, 372 F.3d 1204, 1207 (10th Cir. 2004); United

States v. Atterberry, 144 F.3d 1299, 1300 (10th Cir. 1998). Thus, a knowing and voluntary

waiver of § 2255 rights in a plea agreement is generally enforceable. United States v.

                                               2
   Case 2:06-cr-20118-JWL        Document 160       Filed 01/22/09    Page 3 of 8




Cockerham, 237 F.3d 1179, 1181 (10th Cir. 2001). The Tenth Circuit has adopted a three-

pronged analysis for evaluating the enforceability of such a waiver in which the court must

determine: (1) whether the disputed issue falls within the scope of the waiver, (2) whether the

defendant knowingly and voluntarily waived her rights, and (3) whether enforcing the waiver

would result in a miscarriage of justice. See United States v. Hahn, 359 F.3d 1315, 1325 (10th

Cir. 2004) (en banc) (per curiam).



Scope of the Waiver

       In determining whether the disputed issue falls within the scope of the waiver, the court

begins with the plain language of the plea agreement. United States v. Anderson, 374 F.3d 955,

957 (10th Cir. 2004); Hahn, 359 F.3d at 1328. The provision in the plea agreement by which

Ms. Gutierrez waived her right to challenge her sentence through collateral attack states as

follows:

       Defendant knowingly and voluntarily waives any right to appeal or collaterally
       attack any matter in connection with this prosecution, conviction and sentence.
       The defendant is aware that Title 18, U.S.C. § 3742 affords a defendant the right
       to appeal the conviction and sentence imposed. By entering into this agreement,
       the defendant knowingly waives any right to appeal a sentence imposed which is
       within the guideline range determined appropriate by the court. The defendant
       also waives any right to challenge a sentence or otherwise attempt to modify or
       change his [sic] sentence or manner in which it was determined in any collateral
       attack, including, but not limited to, a motion brought under Title 28, U.S.C. §
       2255 [except as limited by United States v. Cockerham, 237 F.3d 1179, 1187 (10th
       Cir. 2001)], a motion brought under Title 18, U.S.C. § 3582(c)(2) and a motion
       brought under Fed. Rule of Civ. Pro. 60(b). In other words, the defendant waives
       the right to appeal the sentence imposed in this case except to the extent, if any,
       the court departs upwards from the applicable sentencing guideline range
       determined by the court.

                                               3
   Case 2:06-cr-20118-JWL        Document 160       Filed 01/22/09     Page 4 of 8




The plea agreement is construed “according to contract principles and what the defendant

reasonably understood when [s]he entered [her] plea.” Arevalo-Jimenez, 372 F.3d at 1206

(internal quotation and citations omitted). The court strictly construes the waiver and resolves

any ambiguities against the government and in favor of the defendant. Hahn, 359 F.3d at 1343.

       Bearing these principles in mind, Ms. Gutierrez clearly waived the right to raise her claim

concerning ineffective assistance of counsel at the sentencing hearing and her claim concerning

her conviction. However, her remaining ineffective assistance claim concerning the negotiation

of the plea arguably falls within United States v. Cockerham and the court discusses that claim

more fully below.



Knowing and Voluntary

       Ms. Gutierrez does not dispute that her waiver was knowing and voluntary except to the

extent she asserts that her counsel was ineffective in connection with the plea–an argument that

the court addresses below in connection with the miscarriage-of-justice prong of the Hahn

analysis.   Putting that argument aside, the record reflects that Ms. Gutierrez’s waiver was

knowing and voluntary.

       In assessing the voluntariness of a defendant’s waiver, the court looks primarily to two

factors–whether the language of the plea agreement states that the defendant entered the plea

agreement knowingly and voluntarily and whether there was an adequate Rule 11 colloquy. See

United States v. Smith, 500 F.3d 1206, 1210-11 (10th Cir. 2007). Both conditions are satisfied

here. Paragraph 13 of Ms. Gutierrez’s plea agreement expressly states that she “knowingly and

                                                4
   Case 2:06-cr-20118-JWL         Document 160       Filed 01/22/09     Page 5 of 8




voluntarily waives any right to appeal or collaterally attack any matter in connection with this

prosecution, conviction and sentence.” See United States v. Leon, 476 F.3d 829, 834 (10th Cir.

2007) (defendant did not meet burden of showing that waiver was unknowing and involuntary

in part because plea agreement contained broad waiver that defendant “knowingly and

voluntarily waives any right to appeal or collaterally attack any matter in connection with this

prosecution, conviction and sentence”).

       In addition, the court, during its Rule 11 colloquy with Ms. Gutierrez, specifically

discussed with her the fact that she had waived her right to challenge her sentence through a §

2255 motion. Ms. Gutierrez assured the court that she understood that she had waived that right

and that she was willing to do so. See id. (defendant did not meet burden of showing that waiver

was unknowing and involuntary in part because defendant testified at the plea colloquy that he

was competently, knowingly, freely and voluntarily entering his plea and waiving his

constitutional rights, including his right to appeal) (citing Blackledge v. Allison, 431 U.S. 63, 74

(1977) (“Solemn declarations in open court [affirming a plea agreement] carry a strong

presumption of verity. The subsequent presentation of conclusory allegations unsupported by

specifics is subject to summary dismissal, as are contentions that in the face of the record are

wholly incredible.”)).



Miscarriage of Justice

       Enforcing a waiver results in a miscarriage of justice only if (1) the district court relied

on an impermissible factor such as race, (2) the defendant received ineffective assistance of

                                                 5
   Case 2:06-cr-20118-JWL         Document 160       Filed 01/22/09     Page 6 of 8




counsel in conjunction with the negotiation of the waiver, (3) the sentence exceeds the statutory

maximum, or (4) the waiver is otherwise unlawful in the sense that it suffers from error that

seriously affects the fairness, integrity, or public reputation of judicial proceedings. Hahn, 359

F.3d at 1327. Ms. Gutierrez asserts that she received ineffective assistance of counsel in

conjunction with the negotiation of her plea–a situation expressly excluded from the waiver

executed by her. See United States v. Cockerham, 237 F.3d 1179, 1187 (10th Cir. 2001)

(defendant cannot waive the right to bring a § 2255 petition based on ineffective assistance of

counsel claims challenging the validity of the plea or the waiver). The court, however, rejects

the merits of this argument.

       According to Ms. Gutierrez, she received ineffective assistance of counsel in connection

with the negotiation of the plea. Specifically, she asserts that her counsel, in encouraging Ms.

Gutierrez to plead guilty, assured her that she would receive a sentence within the range of 36

to 42 months but then permitted information that she shared with him (concerning drug

quantities related to the conspiracy) to be used against her at sentencing, resulting in a sentence

of 87 months.1 The constitutional right to effective assistance of counsel is defined in Strickland

v. Washington, 466 U.S. 668 (1984). To obtain habeas relief, a petitioner must establish both

that her attorney’s representation was deficient, measured against an objective standard of

reasonableness, and that there is a reasonable probability that but for counsel’s deficient


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        The court does not read Ms. Gutierrez’s claim as suggesting that her counsel violated
the attorney-client privilege by disclosing confidential information to the government.
Indeed, her papers reflect that she shared the same information with law enforcement upon
her arrest.

                                                6
   Case 2:06-cr-20118-JWL         Document 160       Filed 01/22/09     Page 7 of 8




performance, the result of the proceeding would have been different, thereby constituting

prejudice to the petitioner. See id. at 687, 688, 694.

       Ms. Gutierrez cannot establish that her counsel’s performance in negotiating the plea was

constitutionally deficient. During the court’s Rule 11 colloquy with Ms. Gutierrez, the court

specifically advised Ms. Gutierrez that the court would not be able to determine her sentence

until after the presentence investigation process and that her counsel was “unable to make any

promises or guarantees” to her about the length of her sentence. Ms. Gutierrez confirmed to the

court that she understood. She further confirmed to the court that her counsel had not made any

promises or guarantees to her concerning the length of her sentence. Thus, it is clear that Ms.

Gutierrez was aware of the contingencies involved in determining her sentence and nevertheless

entered into a guilty plea. Moreover, Ms. Gutierrez’s plea petition, which she signed, stated that,

to the extent her counsel promised or suggested that she would receive a lighter sentence in

exchange for a guilty plea, he had no authority to do so. The plea petition further underscored

Ms. Gutierrez’s knowledge that her ultimate sentence was “solely a matter within the control of

the Judge” and that the court could take into account all relevant criminal conduct in determining

an appropriate sentence.      Finally, Ms. Gutierrez agreed in her plea agreement that she

understood that the sentence to be imposed would be determined “solely by the United States

District Judge” and she agreed that she would not be permitted to withdraw her guilty plea if the

court imposed a sentence with which she did not agree. For these reasons, the court rejects Ms.

Gutierrez’s claim that her counsel’s performance in negotiating the plea was constitutionally

deficient. See United States v. Silva, 430 F.3d 1096, 1099 (10th Cir. 2005) (rejecting ineffective

                                                7
   Case 2:06-cr-20118-JWL        Document 160        Filed 01/22/09    Page 8 of 8




assistance claim based on counsel’s advice that defendant was facing a much shorter sentence

than he received; defendant acknowledged in his plea agreement and during plea colloquy that

he understood sentencing would be discretionary).

       For the foregoing reasons, the court denies Ms. Gutierrez’s claim that she received

ineffective assistance of counsel in connection with the negotiation of her plea. Having

concluded that enforcing the waiver contained in Ms. Gutierrez’s plea agreement will not result

in a miscarriage of justice, the court grants the government’s motion to enforce and dismisses

Ms. Gutierrez’s claims concerning her conviction and sentencing.



       IT IS THEREFORE ORDERED BY THE COURT that Ms. Gutierrez’s motion to

vacate, set aside, or correct her sentence pursuant to 28 U.S.C. § 2255 (docs. 126, 136) is denied

in part and dismissed in part and the government’s motion to enforce Ms. Gutierrez’s waiver of

rights (doc. 129) is granted.



       IT IS SO ORDERED this 22nd day of January, 2009.



                                                    s/ John W. Lungstrum
                                                    John W. Lungstrum
                                                    United States District Judge




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